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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



                                             :
IN RE: NATIONAL FOOTBALL                     :       No. 2:12-md-02323-AB
LEAGUE PLAYERS’ CONCUSSION                   :
INJURY LITIGATION                            :       MDL No. 2323
                                             :
                                             :
THIS DOCUMENT RELATES TO:                    :
All Actions                                  :
                                             :



                    [PROPOSED] CASE MANAGEMENT ORDER NO. 3



       AND NOW, this __ day of May 2012, after consideration of the Plaintiffs’ Executive

Committee’s choice for Plaintiffs’ Co-Lead Counsel and the Plaintiffs’ Steering Committee’s

proposal that the Court appoint David S. Casey, Esq. and Derriel C. McCorvey, Esq. to the

Steering Committee, the Court hereby makes the following appointments:

       •    Sol Weiss, Esq. is appointed as Plaintiffs’ Co-Lead Counsel to serve together as Co-

            Lead Counsel with Christopher Seeger, Esq., appointed by this Court in Case

            Management Order No. 2 (ECF No. 64); and

       •    David S. Casey, Esq. and Derriel C. McCorvey, Esq. are appointed as additional

            members of the Plaintiffs’ Steering Committee.

       This Order does not alter the Court’s appointment of counsel, pursuant to Case

Management Order No. 2, to serve on the Plaintiffs’ Executive Committee and the Plaintiffs’

Steering Committee and as Plaintiffs’ and Defendants’ Liaison Counsel.
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It is so ORDERED.



                                         Anita B. Brody

______________________________           __________________________
            Date                         United States District Judge


Copies VIA ECF on ___________to:         Copies MAILED on ________ to:




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